Case 2:03-cr-20191-SH|\/| Document 13 Filed 07/01/05 Page 1 of 2 Page|D 82

 

UNITED sTATEs DISTRICT COURT also w _/Mk D o
Wesrem District of Tennessee ' '

 
 

United States of America ORDER HOLDING w kinon
FoR REvocATIO ` "!'CTCOUHT
v. iEMPHIS
BENORIA BELL Case Number: 03~20191-01-Ma

 

On July l, 2005, the defendant appeared before me on a charge of violation of the terms
and conditions of her supervised release in this matter. At this hearing, the defendant WAIVED
her right to a preliminary hearing.Katrina EarIey, AUSA, representing the government, and Pam
Hamrin, defense attorney, representing the defendant, were present.

Accordingly, the defendant is held to a final revocation hearing before Judge Mays. It is
presumed that the United States District Court will set this matter for a revocation hearing
pursuant to Federal Rule of Criminal Procedure 32.1(a)(2), and will see that appropriate notices

are given. The defendant is remanded to the custody of the United States Marshal.

@QMW/€%@M

Unt'ted States Magistrate Judge

Date: %g? / , , 2005

Thls doct.ment entered on the docket ah et In comptl nce
wlth Flule 55 andlor Ssz) FFlCrP on __ im °

/3

: .| l x x F
UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 13 in
case 2:03-CR-20191 vvas distributed by faX, mail, or direct printing on
July 7, 2005 to the parties listed.

 

 

Terrell L. Harris

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Sarnuel Mays
US DISTRICT COURT

